Case 1:17-cv-01668-ARR-CLP Document 40 Filed 07/13/18 Page 1 of 4 PageID #: 190
                            Roya Moghadassi-Weiss
                               Attorney At Law

                                       The Chrysler Building
                                    405 Lexington Avenue, 70 Fl.
                                    New York, New York 10174


                                                                   RMoghadassi.law@gmail.com
                                                                           Tel: (646) 609-1781
                                                                           Fax: (212) 428-6774
    July 13, 2018



    VIA ECF
    The Honorable Cheryl L. Pollak
    United States Magistrate Judge
    United State Courthouse
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

    Re: Lopez v. Angelitos Auto Repair, Inc., and Angelito Guzman
       17-cv-1668 (ARR)(CLP)

    Your Honor,

    This office represents defendants in the above-referenced matter.

    Before the Court is Plaintiff’s wage and hour claims brought individually and on behalf
    of others similarly situated, under the Fair Labor Standards Act, as well under New York
    Labor Law, §C 190; 650 et seq., and N.Y. Comp. Codes & Regs. Tit 12, ¶142-1.6
    (“Spread of Hours Wage Order”) against two defendants, Angelito Auto Repair, Inc.
    (doing business as Angelito Auto Repair), and Angelito Guzman, individually.

    Defendants hereby respectfully seek a pre-motion conference with the Court, and ask for
    leave to move for summary judgment pursuant to Fed. R. Civ. P. 56, and for suspending
    the initial conference currently scheduled for July 26, pending the outcome of said
    motion, or alternatively, to treat said conference as a pre-motion conference, and for the
    Court to approve a briefing schedule for said motion, at that conference.

    Defendants respectfully submit that there is no genuine issue of material fact disputing
    that the Court lacks personal and subject matter jurisdiction over Plaintiff’s claims, thus
    entitling Defendants to judgment as a matter of law. Accordingly, allowing Defendants
    to file said motion is in full deference to Rule 1 of the Federal Rules of Civil Procedure
    and will serve judicial economy, promote expeditious litigation, avoid unnecessary and
    ongoing expenditure of time and funds while also ensuring a fair and just resolution of
    the instant matter.


                                                 1
Case 1:17-cv-01668-ARR-CLP Document 40 Filed 07/13/18 Page 2 of 4 PageID #: 191




    As a brief backdrop, after Defendants’ motion to vacate default (ECF 30-35) was
    unopposed (ECF 36); followed by the Report and Recommendation directing the Clerk to
    vacate the default (ECF 37), this Court has set Defendants’ time to Answer for July 16,
    2018, and for an initial conference to be held on July 26.

    Defendants seek leave to file said motion and for the opportunity to show, on the basis of
    the pleadings and submitted evidence, that there is no genuine issue of material fact
    disputing the Court’s lack of jurisdiction.

    Defendants’ anticipated motion for summary judgment is based on the following
    arguments:

           I.      The Court Lacks Personal Jurisdiction over the Named Non-existent
                   Corporate Defendant and its Alter-Ego.

    Whether a named corporate defendant exists or not is indisputably a material fact in any
    complaint filed against such an entity.

    Here, the Complaint states that: “Upon information and belief, Defendant Angelito Auto
    Repair Inc. (“Defendant Corporations”) is a corporation organized and existing under the
    laws of the State of New York. Upon information and belief, it maintains its principle
    place of business at 15-67 East New York Avenue Brooklyn, NY.” (ECF 1, ¶18)

    However, as verified by public records, there is no corporate entity named Angelito Auto
    Repair, Inc, in New York. See (ECF 32, and Exhibits A and B annexed thereto). See also,
    Defendants’ Memorandum of Law in support of vacatur (ECF 31, pp. 9-10). Plaintiff’s
    attorneys have, as part of their submitted fee application, stated to the Court that they
    “Searched the Corporation & Business Entity Data Base (ECF 13) but their alleged
    search could not have resulted in any information, affirming the existence of Angelito
    Auto Repair, Inc. Yet, despite this knowledge, they proceeded to assert that Plaintiff
    Lopez was an employee of the named but non-existent corporation and the Complaint is
    replete with claims and allegations against the non-existent corporation.

    Moreover, it belies logic that a corporate defendant that does not exist in the first place
    can replicate itself as another business entity. Therefore, the non-existent Defendant,
    Angelito Auto Repair, Inc. could not do business as Angelito Auto Repair. Nor can a
    non-existent corporation be properly served with process. Therefore, in the absence of
    service of process, this Court lacks personal jurisdiction over Defendant Angelito Auto
    Repair, Inc. (doing business as Angelito Auto Repair) and any claims asserted against
    these entities should be dismissed as a matter of law.




                                                  2
Case 1:17-cv-01668-ARR-CLP Document 40 Filed 07/13/18 Page 3 of 4 PageID #: 192


             II.      The Court Lacks Subject Matter Jurisdiction Because
                      there is no Enterprise Liability as Dictated by the FLSA.

    Even assuming that Plaintiff has shown that he is a covered employee under the FLSA, 1
    and even if he has shown that he has met the first prong of the enterprise liability test
    under the FLSA, 2 plaintiff must also show that his alleged employers’ annual gross
    volume of sales made or business done is not less than $500,00.00 (exclusive of excise
    taxes, etc…) Id. (emphasis added). Accord Koszkos v. Janton Industries, Inc., 2016 WL
    4444329, *4 (E.D.N.Y, Aug 3, 2016).

    Here, the Complaint states unequivocally that in each year, from 2011 to 2017, 3
    Defendants, both individually and jointly, had gross annual volume of sales of not less
    than $500,000…” (ECF 1, ¶32) In addition, Plaintiff states under oath that: “In each year
    from 2015 until the end of [his] employment, [h]e observed the defendants has a gross
    volume of sales of not less than $500,000…” (ECF 12, ¶9)

    Defendant Guzman, has stated under oath that gross annual income from Angelito Auto
    Repair is below $500,000 (ECF 33, ¶ 24).Therefore, Defendant Guzman has shown an
    absence of evidence in support of an essential element of Plaintiff’s FLSA claims.
    Plaintiff failed to respond and did not oppose any statement of material fact disputing
    Defendants’ lack of enterprise liability. Instead, Plaintiff’s attorneys requested that
    discovery be scheduled. (ECF 36).

    Defendants assert that both plaintiff and his counsel lacked sufficient bases to make such
    allegations and as evinced by the letter to the Court (ECF 36), they intended to rely on
    conducting discovery to obtain any supporting evidence.

    However, neither Plaintiff nor his attorneys can first file a complaint and then rely on the
    conduct of discovery to obtain information supporting the essential element of his FLSA
    claims. It is well-settled that a party cannot allege facts to make out the substance of a
    claim when it has an insufficient basis to make those allegations, in the hope that
    discovery may fortuitously give it a good faith basis.” Sourceone Healthcare
    Technologies, Inc. v. Bensonhurst Imaging Associates Management, LLC. 08 Civ. 2568,
    2008 WL 2697324 (E.D.N.Y. July 2, 2008)(quoting Robert G.(Anonymous) v. Newburgh
    City School Dist. 89 Civ. 2978, 1989 WL 97907 (S.D.N.Y. Aug. 16, 1989)(Liberal
    pleading requirements do not countenance the bringing of a conclusory complaint in the
    hope of using discovery process to uncover facts that support the complaint’s
    speculations). Deciding to sue first and find out if there was federal jurisdictional basis
    for the suit later, while subjecting Defendants to substantial expenditure of funds in
    defending against such claims does not serve the cause of justice and violates the tenants
    of judicial economy.


    1
      Disputed by Defendants.
    2
      29 U.S.C. §203(s)(1).. Defendants dispute that plaintiff has made this showing.
    3
      Referring to a period of time which exceeds and does not coincide with Plaintiff’s period of alleged
    employment with Defendants.


                                                         3
Case 1:17-cv-01668-ARR-CLP Document 40 Filed 07/13/18 Page 4 of 4 PageID #: 193
    Clearly, Defendants’ proposed summary judgment motion is the most efficient and
    streamlined approach to determine whether the Court has subject matter jurisdiction over
    Plaintiff’s claims. If as a result of the anticipated summary judgment motion, no
    independent basis for federal jurisdiction exists, then the Court has discretion to exercise
    supplemental jurisdiction over Plaintiff’s remaining NYLL claims, 4 or decline to do so. 5
    In the latter event, Plaintiff can proceed with any wage and hour claims he may have in
    state court.

     Accordingly, in the interest of justice and judicial efficiency and economy, Defendants
     request that a pre-motion conference be held on or before July 26, 2108, and for the Court
     to approve a briefing schedule for said motion.

     Respectfully submitted,


     _________/s/________________________
     Roya Moghadassi-Weiss, Esq. (RM9643)


     cc: Lina Franco Law, PC, VIA ECF
         Wilhelm Ceron, VIA ECF




     4
         29 U.S.C. § 1367 (a).
     5
         28 U.S.C. § 1367 (c)(3).

                                                 4
